      Case 4:12-cr-00213-KGB            Document 307          Filed 07/01/15   Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURTS
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                               Case No. 4:12-cr-0213-07 KGB

FARRIS ELDON MAY                                                                DEFENDANT

                                              ORDER

       The Court will conduct a status conference in this matter on Thursday, July 16, 2015, at

10:00 a.m. in Courtroom 4C at the Richard Sheppard Arnold United States Courthouse, 500

West Capitol Avenue, Little Rock, Arkansas, 72201.

       The Clerk is directed to mail copies of this order to counsel for the defendant, James

Clouette, and to the defendant Farris Eldon May.


       It is so ordered this the 1st day of July, 2015.




                                                          ________________________________
                                                          Kristine G. Baker
                                                          United States District Judge
